Case 19-14882-amc        Doc 46    Filed 12/12/19 Entered 12/12/19 15:02:54           Desc Main
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                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA (Philadelphia)
 IN RE:
 ANTHONY J. COSTANZO                                          BK. No. 19-14882-jkf
 KIMBERLY A. KATCHEN-COSTANZO
                                                        :
 AKA KIMBERLY A. KATCHEN                                      Chapter No. 13
                                                        :
                     Debtors
                                                        :
                                                        :
 U.S. BANK NATIONAL ASSOCIATION, NOT
                                                        :
 INDIVIDUALLY BUT SOLELY AS TRUSTEE
                                                        :
 FOR BLUEWATER INVESTMENT TRUST                               11 U.S.C. §362
                                                        :
 2017-1
                                                        :
                      Movant
                                                        :
                 v.
                                                        :
 ANTHONY J. COSTANZO
                                                        :
 KIMBERLY A. KATCHEN-COSTANZO
                                                        :
 AKA KIMBERLY A. KATCHEN
                      Respondents

                       ORDER MODIFYING §362 AUTOMATIC STAY

      AND NOW, this 12th day of December         xxxxxxxxxxxxxxxxxx
                                         , 2019, at PHILADELPHIA, upon Motion of
FAY SERVICING, LLC, FOR U.S. BANK NATIONAL ASSOCIATION, NOT
INDIVIDUALLY BUT SOLELY AS TRUSTEE FOR BLUEWATER INVESTMENT TRUST
2017-1 (Movant), it is:

       ORDERED AND      xxxxxxxxxxxxxx
                             DECREED: that Movant shall be permitted to reasonably communicate
with Debtor(s) and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy
law; and it is further;

        ORDERED that Relief from the Automatic stay of all proceedings, as provided under 11
U.S.C. §362 is granted with respect to, 532 S TANEY ST, PHILADELPHIA, PA 19146 (hereinafter
the Premises) (as more fully set forth in the legal description attached to the Mortgage of record
granted against the Premises), as to allow Movant, its successors or assignees, to proceed with its
rights under the terms of said Mortgage; and it is further;

       ORDERED that FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1 is no longer
applicable to Movant, its successors or assignees.


                                         ___________________________________
                                         JEAN K. FITZSIMON, BANKRUPTCY JUDGE


 SCOTT F. WATERMAN (CHAPTER 13)               ANTHONY J. COSTANZO
 CHAPTER 13 TRUSTEE                           532 S. TANEY ST.
 2901 ST. LAWRENCE AVE.,                      PHILADELPHIA, PA 19146
 SUITE 100
 READING, PA 19606                            KIMBERLY A. KATCHEN-COSTANZO
                                              AKA KIMBERLY A. KATCHEN
                                              532 S. TANEY ST.
                                              PHILADELPHIA, PA 19146
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MICHAEL A. CATALDO2
CIBIK & CATALDO, P.C.
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SUITE 900
PHILADELPHIA, PA 19102

MICHAEL A. CIBIK2
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1500 WALNUT STREET
SUITE 900
PHILADELPHIA, PA 19102

UNITED STATES TRUSTEE
OFFICE OF THE U.S. TRUSTEE
200 CHESTNUT STREET
SUITE 502
PHILADELPHIA, PA 19106
